














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 1834-07






BOYCE DEE PHILLIPS, Appellant

v.

THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE SIXTH COURT OF APPEALS

RED RIVER COUNTY




	Per curiam.  KEASLER and HERVEY, JJ., dissent.


ORDER

	The petition for discretionary review violates Rules of Appellate Procedure 9.3,
68.4(i), and 68.5 because the original petition is not accompanied by 11 copies, does not
contain a copy of the opinion of the court of appeals, and grounds and reasons for review
are longer than 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition may be filed in the
COURT OF CRIMINAL APPEALS within thirty days after the date of this order.

En banc

Delivered:   March 17, 2008

Do Not Publish


